       Case 1:20-cv-00292-JPW Document 178 Filed 12/08/21 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PACE-O-MATIC, INC.,                          :    Civil No. 1:20-CV-00292
                                             :
             Plaintiff,                      :
                                             :
             v.                              :
                                             :
ECKERT, SEAMANS CHERIN &                     :
MELLOTT, LLC,                                :
                                             :
             Defendant.                      :    Judge Jennifer P. Wilson

                                      ORDER

      AND NOW, on this 8th day of December, 2021, following a telephonic
status call with counsel, IT IS ORDERED THAT:
      1.     The preliminary injunction hearing previously scheduled for
December 20, 2021 at 9:30 a.m. is continued to April 28, 2022 at 9:30 a.m.,
Courtroom No. 1, Ninth Floor, Federal Building, Third and Walnut Streets,
Harrisburg, Pennsylvania.
      2.     In lieu of the preliminary injunction hearing on December 20, 2021 at
9:30 a.m., the court will convene a telephonic status conference at the same date
and time to discuss a discovery dispute. In preparation for this status conference,
Plaintiff shall docket a letter outlining the parties’ disputes on or before December
13, 2021. Defendant may file a responsive letter by close of business on
December 16, 2021. Plaintiff’s counsel shall initiate the call to chambers at 717-
221-3970 once all parties are on the line.
                                                 s/Jennifer P. Wilson
                                                 JENNIFER P. WILSON
                                                 United States District Court Judge
                                                 Middle District of Pennsylvania
